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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
   ANDY KIM, et al.,

   Plaintiffs,

   v.

   CHRISTINE GIORDANO HANLON,
   in her official capacity as Monmouth
   County Clerk, et. al.,               Civil Action No.: 24-1098 (ZNQ)(TJB)

                 Defendants,
   - and -

   DALE A. CROSS, in his official
   capacity as Salem County Clerk, et al.,

                 as Interested Parties.




  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION IN
  LIMINE NO. 1 TO EXCLUDE THE INTRODUCTION OR USE OF ANY
  EXPERT TESTIMONY AT THE EVIDENTIARY HEARING ON
  PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

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        Defendants Christopher Durkin, Joanne Rajoppi, and Danielle Ireland-Imhof,

  in their official capacities (collectively, “Defendants”) respectfully submit this

  memorandum of law in support of their motion of their motion in limine (Motion In

  Limime #1) to bar all of Plaintiffs’ putative experts from testifying at the evidentiary

  hearing on Plaintiff’s motion for a preliminary injunction scheduled for Monday,

  March 18, 2024 on the grounds of undue delay in disclosing their opinions.

                            PRELIMINARY STATEMENT
        Despite having engaged their experts as far back as December of last year, and

  in at least one case, having had a signed report in hand before the end of 2023,

  Plaintiffs sprung four purported expert reports on Defendants (containing over 120

  pages excluding exhibits) as exhibits to the Verified Complaint with a delayed filing

  date of February 26, 2024. 1 These reports were heavily relied upon and referenced

  in Plaintiff’s motion for emergent relief filed on February 26, 2024 that seeks to

  overturn New Jersey’s longstanding statutorily mandated ballot design that has been

  the subject of litigation brought by the same attorneys, which has been pending

  before this very Court for years. Plaintiffs’ eleventh-hour filing, which sought an

  expedited hearing, was clearly designed to shield those experts from any meaningful



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   In addition, Plaintiffs submitted a “rebuttal report” from one of these experts on
  March 12, 2024 with their reply papers, and belatedly submitted an additional
  purported expert report from Ryan Macias on March 13, 2024, after the deadline to
  do so.

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  discovery in order to set up a classic trial by ambush. The Federal Rules of Civil

  Procedure and caselaw directly address, and forbid, Plaintiffs’ bad faith stratagem.

  Accordingly, none of Plaintiffs proposed experts should be permitted to testify at the

  hearing on their motion for a preliminary injunction, nor should the Court consider

  their ‘reports’ in rendering a decision on Plaintiffs’ pending emergent application.

                               STATEMENT OF FACTS

        For purposes of this motion in limine, Defendants presume the Court’s

  familiarity with Plaintiffs’ allegations and their claims for relief. It suffices to say

  here that Plaintiffs filed a Verified Complaint along with an application for a

  preliminary injunction on February 26, 2024 that seeks a “mandatory” injunction on

  an emergent basis that would force a redesign of New Jersey’s longstanding and

  statutorily mandated primary election ballot design. (See Dkt. # 1, 5-7).

  Accompanying that application are four expert reports, authored by: (i) Dr. Samuel

  S-H Wang (Dkt. # 1-4); (ii) Dr. Josh Pasek, Ph.D (Dkt. #1-2); (iii) Dr. Julia Sass

  Rubin (Dkt. #1-3); and (iv) Andrew W. Appel (Dkt. # 1-5).

        This suit was brought by the same counsel for the plaintiffs in the action

  entitled Conforti, et al. v. Hanlon, et al., Civ. No. 20-8267 (ZNQ) (TJB), which was

  filed in this Court on or about July 6, 2020, and which likewise seeks an order

  declaring New Jersey’s ballot design unconstitutional. See generally Conforti v.

  Hanlon, No. 20-08267, 2022 WL 1744774 (D. N.J. May 31, 2022). No experts were



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  identified in that litigation, and, on February 13, 2024 counsel for those plaintiffs

  asked for, and received, an extension of the time to serve discovery responses. (See

  Conforti Dkt. # 186).

        On February 29, 2024, in this action, the Court ordered that an evidentiary

  hearing on Plaintiffs’ motion for a preliminary injunction be held on March 18, 2024.

  (Dkt. # 34). Up until the filing of this motion, Defendants did not know about

  Plaintiffs intentions to seek relief in the middle of the current primary election

  process, did not have any meaningful opportunity to find their own proposed experts

  who could provide a substantive response in less than one week, and have not had

  the opportunity to take the depositions or seek meaningful discovery of Plaintiffs’

  proposed experts. Rather, in response to narrowly tailored discovery requests, on

  March 4, 2024 Plaintiffs’ counsel provided what can only be described as a

  “document dump,” which purported to contain materials upon which their putative

  experts apparently relied in formulating their opinions, and included, among other

  things, expert engagement letters, notes, raw data, studies and spreadsheets. (Dkt. #

  120 at p.2).

        At that time, it became evident that Plaintiffs had retained their experts months

  before they filed this action. Specifically:

     • Mr. Appel, although formally engaged by Plaintiffs’ counsel on or about

        January 22, 2025, began his work no later than December 18, 2023, and


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        provided Plaintiffs’ counsel with a signed report on December 26, 2023

        (Declaration of Jennifer Borek (“Borek Dec.”), Exs. A & B) ;

     • Dr. Wang, although formally engaged by Plaintiffs’ counsel on or about

        January 22, 2024, began preparing his report no later than December 29, 2023

        and had discussions regarding this matter with Plaintiffs’ counsel as early as

        December 18, 2023 (Borek Dec. Exs. C, D, E)

     • Dr. Pasek, although formally engaged by Plaintiffs’ counsel on or about

        January 11, 2024, had discussions regarding this matter with Plaintiffs’

        counsel as early as December 18, 2023 (Borek Dec. Exs. C, F);

     • Dr. Sass Rubin, although formally engaged by Plaintiffs’ counsel on or about

        January 22, 2024, had discussions regarding this matter with Plaintiffs’

        counsel as early as December 23, 2023 (Borek Dec. Exs. C, G); and

     • Plaintiffs’ counsel served and filed a certification from Ryan Macias on March

        13, 2024 purportedly in further support of its motion for a preliminary

        injunction after the Court imposed March 12, 2024 deadline for doing so (see

        Dkt. # 34, 115, 115-1).

                                      ARGUMENT

        Because Plaintiffs seek the equitable remedy of preliminary injunctive relief,

  the admissibility of their putative experts’ testimony at the hearing to determine

  whether that relief is appropriate is governed by the principle that any delay in filing



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  “undercuts the urgency that forms the cornerstone of injunctive relief; indeed, it

  indicates a lack of urgency.” Otsuka Pharm. Co. v. Torrent Pharms. Ltd., Inc., 99 F.

  Supp. 3d 461, 505 (D.N.J. 2015); see also Graceway Pharms., LLC v. Perrigo Co., 697

  F. Supp. 2d 600, 605 (D.N.J. 2010) (explaining that such extraordinary relief should

  not “be granted in the face of a movant’s inequitable conduct, including laches, i.e.,

  unjustified delay or dilatory conduct”). As the Supreme Court has held, this principle

  holds even firmer in cases that challenge election laws and procedures. Benisek v.

  Lamone, 585 U.S. 155, 159 (2018) (“a party requesting a preliminary injunction must

  generally show reasonable diligence.     That is as true in election law cases as

  elsewhere.”) (citations omitted). Whether Plaintiffs’ undue delay in disclosing their

  putative expert’s opinions should ultimately be analyzed in conjunction with their

  overall burden to meet a high standard of proof, given that they seek a “mandatory”

  injunction that seeks to upend, rather than preserve, the status quo by overturning a

  longstanding State election laws and procedures. See Merrill v. Milligan, 142 S. Ct.

  879, 880 (2022) (the Purcell principle requires a showing that “the underlying merits

  are entirely clearcut in favor of the plaintiff”) (Kavanaugh, J. concurring); Acierno

  v. New Castle Cnty., 40 F.3d 645, 653 (3d Cir. 1994) (plaintiffs seeking a “mandatory

  injunction” must meet “a particularly heavy burden demonstrating its necessity”).

        In a similar vein, Fed. R. Civ. P. 26(a)(2)(D)(i) provides that “[a]bsent a

  stipulation or court order,” neither of which Plaintiffs obtained when they served


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  their putative expert reports, expert disclosures “must be made at least 90 days before

  the date set for trial or for the case to be ready for trial[.]” The purpose of the Rule

  “is to prevent unfair surprise at trial and to permit the opposing party to prepare

  rebuttal reports, to depose the expert witness in advance of trial, and to prepare for

  depositions and cross-examination at trial.” Minebea Co., Ltd. v. Papst, 231 F.R.D.

  3, 5-6 (D. D.C. 2005) (citations omitted).

        Here, there can no dispute that Plaintiffs have unduly delayed and have

  otherwise not complied with Rule 26(a)(2)(D)(i)’s timeframe regarding the

  disclosure of their putative expert reports. As described above, Plaintiffs’ counsel

  contacted their putative experts at least as early as December of last year, more than

  two months before disclosing their opinions in conjunction with their motion for

  extraordinary and supposedly emergent relief. Indeed, the limited information that

  Defendants have been able to obtain indicates that their putative experts had been

  preparing their reports as far back as December of last year, and, in the case of Mr.

  Appeal, had a signed report by him in hand on December 29, 2024, nearly two months

  before they filed suit herein. Thus, there can be no serious claim that the timeframe

  that Plaintiffs’ eleventh-hour filing set up has prevented Defendants from taking

  depositions of those putative experts or preparing their own rebuttal reports as the

  Federal Rules of Civil Procedure contemplate.




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          Plaintiffs likewise have no basis to argue that any exigencies otherwise

   permitted their end-run around the rules and principles governing the timing of

   expert disclosure. Indeed, it is obvious that Plaintiffs themselves, and almost

   certainly by design, created any exigencies they might claim exist here. Specifically,

   the ballot design that Plaintiffs seek to emergently enjoin has been the subject of state

   court litigation going back decades, see e.g., Quaremba v. Allan, 67 N.J. 1 (1975), and

   is the subject of pending litigation in Conforti almost four years ago, in which

   Plaintiffs’ counsel obtained an extension of time to serve discovery requests before

   their filing here.

          In sum, the foregoing demonstrates that Plaintiffs have no good faith argument

   that they proceeded diligently to give Defendants the opportunity to fully probe the

   opinions of their putative experts that they claim conclusively establishes their right

   to the extraordinary relief they have sought on a wholly unnecessary truncated

   timeline. To the contrary, it is obvious that they intentionally slow walked the

   disclosure of their experts’ opinions in order to shield them from any meaningful

   discovery. The Court should not reward such a patently bad faith approach.

   Accordingly, the Cout should bar all of those putative experts from testifying at the

   hearing on Plaintiff’s motion for a preliminary injunction.




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                                       CONCLUSION

            For all of the foregoing reasons, Defendants respectfully request that the Court

   grant their motion in limine and bar all of Plaintiffs’ experts from testifying at the

   hearing on Plaintiffs’ motion for a preliminary injunction.

                                                    Respectfully submitted,

                                                    GENOVA BURNS LLC
                                                    Attorneys for Defendants,
                                                    Christopher Durkin, Joanne Rajoppi,
                                                    and Danielle Ireland-Imhof

                                                    By: s/ Angelo J. Genova
                                                       ANGELO J. GENOVA
                                                       RAJIV D. PARIKH
                                                       JENNIFER BOREK


   Dated: March 18, 2024




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